          Case 1:21-cr-00090-SAG Document 3 Filed 05/10/21 Page 1 of 2



                       UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MARYLAND (BALTIMORE)


UNITED STATES OF AMERICA,

                      Plaintiff,                  Case No. 1:21-cr-00090-SAG-1

                v.                                Hon. Stephanie A. Gallagher

WILLIAM PATRICK MITCHELL,

                      Defendant.


             ENTRY OF LIMITED APPEARANCE IN A CRIMINAL CASE

To The Clerk of the Court and All Parties of Record:

       PLEASE TAKE NOTICE that I, Brian W. Stolarz, of Fox Rothschild LLP, am admitted

or otherwise authorized to practice in this Court, hereby enter my appearance in this case as

counsel for Defendant William Patrick Mitchell (“Defendant”), for the limited purpose of

representing Defendant at the Initial Hearing scheduled for May 10, 2021.


                                                   Respectfully submitted,

                                                   FOX ROTHSCHILD, LLP

Dated: May 10, 2021                             By: /s/ Brian W. Stolarz
                                                       Brian W. Stolarz (#14269)
                                                       Fox Rothschild, LLP
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                                                       Attorneys for Defendant
           Case 1:21-cr-00090-SAG Document 3 Filed 05/10/21 Page 2 of 2



                                 CERTIFICATE OF SERVICE

        I, Brian W. Stolarz, hereby certify that I caused the foregoing Entry of Limited

Appearance in a Criminal Case to be served electronically through the electronic filing system to

all counsel of record at an email address on file with the Court.


Dated: May 10, 2021                                         /s/ Brian W. Stolarz
                                                            Brian W. Stolarz




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